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                                 UNITED STATES DISTRICT COURT
                                                          for the
                                                   District of New Jersey

                                        MAGISTRATE’S COURTROOM MINUTES


                                                                     MAGISTRATE JUDGE:      JAMES B. CLARK, III
            UNITED STATES OF AMERICA
                                             Plain tff               CASE NO.          20-cr-724-BRM
                                                                                             9/2/2020
                            V.                                       DATE OF PROCEEDINGS:

                   DOMINIQUE AUSTON
                                                                     DATE OF ARREST:       9/2/2020
                                            Defendant



PROCEEDINGS:       Initial Appearance

/oMPLAINT                                                       El T      PORARY COMMITMENT
L1 ADVISED OF RIGHTS                                                  CONSENT TO DETENTION WITH RIGHT TO MAKE A
El 3kIVER OF COUNSEL                                            El    BAIL APPLICATION AT A LATER TIME
   APPT. OF COUNSEL: I     I AFPD       CJA                     El    BAIL DENIED DEFENDANT REMANDED TO CUSTODY
                                                                                    -


   WAIVER OF HRG: I      I PRELIM    I REMOVAL                  El    BAIL SET:
El CONSENT TO MAGISTRATES JURISDICTION                                      El
                                                                             UNSECURED BOND
LI PLEA ENTERED:]      I GUILTY I  LNOT GUILTY                              El
                                                                             SURETY BOND SECURED BY CASH/PROPERTY
El PLEA AGREEMENT                                               El    TRAVEL RESTRICTED________________________
El RULE 11 FORM                                                 El    REPORT TO PRETRIAL SERVICES
El FINANCIAL AFFIDAVIT EXECUTED                                 El    DRUG TESTING AND/OR TREATMENT
LI OTHER:                                                       El    MENTAL HEALTH TESTING AND/OR TREATMENT
                                                                El    SURRENDER AND/OR OBTAIN NO PASSPORT
                                                                El    SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                      ADDITIONAL CONDITIONS

 HEARING SET FOR:

     PRELIMINARY/REMOVAL HRG.                                       DATE:
     DETENTION/BAIL HRG.                                            DATE:
     TRIAL: I  I COURTL_JJURY                                       DATE:
     SENTENCING                                                     DATE:
     OTHER:                                                         DATE:



APPEARANCES:


AUSA:    Emma Spiro

DEFT. COUNSEL:   Stacy Biancamano, CJA

PROBATION:____________________

INTERPRETER___________________
           Language:


TIME COMMENCED:
TIME TERMINATED:
CD NO: Zoom                                                                             Stephen Bond

                                                                        Stephen Bond, Deputy Clerk
